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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Charles F. Gilbert, et al.
                                  Plaintiff,
v.                                                   Case No.: 1:19−cv−01686
                                                     Honorable John Robert Blakey
BMO Harris, N.A., et al.
                                  Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, May 1, 2019:


        MINUTE entry before the Honorable John Robert Blakey: Defendant's Tammac
Holdings' uncontested motion for extension of time [43] is granted. Any answer or other
responsive pleading shall be filed on or before 5/14/2019. Defendant, Ford Motor Credit
Company LLC's unopposed motion for second extension of time [46] is granted. Any
answer or other responsive pleading shall be filed on or before 5/14/2019. Defendant,
Nationstar Mortgage LLC's unopposed motion for second extension of time [48] is
granted. Any answer or other responsive pleading shall be filed on or before 5/14/2019.
Motion hearing set for 5/9/2019, is stricken. Status hearing previously set for 5/8/2019 is
reset for 5/29/2019 at 9:45 a.m. in Courtroom 1203. Mailed notice(gel, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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